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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


James Irving Dale,                                   Civil File No. 18-cv-886 (DWF/DTS)

                     Plaintiff,

       vs.
                                                        STATE DEFENDANTS’ MEET
Tom Roy, et al.,                                         AND CONFER STATEMENT

                     Defendants.


       I, Kathryn A. Fodness, counsel for the above-captioned State Defendants in this

matter do hereby certify that on August 1, 2018, I sent a letter to pro se

Plaintiff James Dale regarding State Defendants’ Motion to Dismiss and asked that he

contact me to discuss resolution of State Defendants’ motion to dismiss. I was unable to

identify a working telephone number for Plaintiff. To date, the parties have not agreed

on a resolution of any part of the motion.

Dated: August 1, 2018                        OFFICE OF THE ATTORNEY GENERAL
                                             State of Minnesota


                                             s/ Kathryn A. Fodness
                                             KATHRYN A. FODNESS
                                             Assistant Attorney General
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